UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MISSOURI

EASTERN DIVISION
IN THE MATTER OF: )
) CAUSE NUMBER 4:07MC390CE]
NORVEL E. BROWN, JR. )
ORDER TO SHOW CAUSE

A certified copy of the final order demonstrating the imposition of discipline upon Norvel
E. Brown, Jr. by the Supreme Court of Missouri has been filed with this Court and is attached
hereto. In accordance with Local Rule 12.02 and the Rules of Disciplinary Enforcement,

IT IS HEREBY ORDERED that Norvel E. Brown, Jr. shall show cause in writing
within thirty days after service of this order why the final order disbarring Norvel E. Brown, Jr.
entered by the Supreme Court of Missouri should not be imposed by this Court for one or more of

the reasons set forth in Local Rule 12.02 and the Rules of Disciplinary Enforcement.

CHIEF UNITED STATES DISTRICT JUDGE

Dated this day of July, 2007.
